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UNITED STATES DISTRICT COURT
                                                                           OR\G\NAL
SOUTHERN DISTRICT OF NEW YORK
-    -   -   -   -   -    -   -    -   -   -   -   -     X


    UNITED STATES OF AMERICA                                      SUPERSEDING INDICTMENT

                         - v. -                                   S2 20 Cr . 330 (AJN)

    GHISLAINE MAXWELL ,

                         Defendant .

                                                         X


                                      COUNT ONE
                 (Conspiracy to Entice Minors to Travel to Engage in
                                  Illegal Sex Acts)

                     The Grand Jury charges:

                                                       OVERVIEW

                     1.           The charges set forth herein stem from the role

of GHISLA I NE MAXWELL , the defendant , in the sexual exploitation

and abuse of multiple minor girls by Jeffrey Epstein.                               In

particular , from at least in or about 1994 , up to and including

at least in or about 2004 , MAXWELL assisted , facilitated , and

contributed to Jeffrey Epstein ' s abuse of minor girls by , among

other things , helping Epstein to recruit , groom , and ultimately

abuse victims known to MAXWELL and Epstein to be under the age

of 18 .          The victims were as young as 14 years old when they were

groomed and abused by MAXWELL and Epstein , both of whom knew

that certain victims were in fact under the age of 18.

                     2.           As a part and in furtherance of their scheme to

abuse minor victims, GHISLAINE MAXWELL , the defendant , and

Jeffrey Epstein enticed and caused minor victims to travel to
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Epstein ' s residences in different states , which MAXWELL knew and

intended would result in their grooming for and subjection to

sexual abuse .     Moreover , in an effort to conceal her crimes ,

MAXWELL repeatedly lied when questioned about her conduct ,

including in relation to some of the minor victims described

herein , when providing testimony under oath in 2016 .

                            FACTUAL BACKGROUND

             3.    During the time periods charged in this

Indictment , GHISLAINE MAXWELL , the defendant , had a personal and

professional relationship with Jeffrey Epstein and was among his

closest associates.      In particular , between in or about 1994 and

in or about 1997 , MAXWELL was in an intimate relationship with

Epstein .    Additionally , between in or about 1994 and in or about

2004 , MAXWELL was paid by Epstein to manage his various

properties .

             4.    Beginning in at l east 1994 , GHISLA I NE MAXWELL ,

the defendant , enticed and groomed multiple minor girls to

engage in sex acts with Jeffrey Epstein , through a variety of

means and methods , including but not limited to the following :

                   a.   MAXWELL first attempted to befriend some of

Epstein ' s minor victims prior to their abuse , including by

asking the vict i ms about their lives , their schools , and their

families .     MAXWELL and Epstein would spend time bu il ding

friendships with minor victims by , for example , taking minor



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victims to the movies or shopping .       Some of these outings would

involve MAXWELL and Epstein spending time together with a minor

victim , while some would involve MAXWELL or Epst ein spending

time alone with a minor victim .

                 b.    Having developed a rapport with a victim ,

MAXWELL would try to normalize sexual abuse for a minor victim

by , among other things , discussing sexual topics, undressing in

front of the victim , being present when a minor victim was

undr essed , and/or being present for sex acts involving the minor

victim and Epstein.

                 c.    MAXWELL'S presence during minor victims '

interactions with Epstein , including interactions where the

minor victim was undressed or that involved sex acts with

Epstein , helped put the victims at ease because an adult woman

was present.    For example , in some instances , MAXWELL would

massage Epstein in front of a minor victim .         In other instances ,

MAXWELL encouraged minor victims to provide massages to Epstein,

in cluding sexualized massages during which a minor victim would

be fully or partially nude .      Many of those massages resulted in

Epstein sexually abusing the minor victims .

                 d.    In addition , Epstein offered to help some

minor vict ims by paying for travel and/or educational

opportunities , and MAXWELL encouraged certain victims to accept

Epstein ' s assistance .   As a result, victims were made to feel



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indebted and believed that MAXWELL and Epstein were trying to

help them.

                   e.   Through this process , MAXWELL and Epstein

enticed victims to engage in sexual activity with Epstein .              In

some instances , MAXWELL was present for and participated in the

sexual abuse of minor victims .       Some such incidents occurred in

the context of massages , which developed into sexual encounters.

              5.   Between approximately in or about 1994 and in or

about 2004 , GHISLAINE MAXWELL , the defendant , facilitated

Jeffrey Epstein ' s access to minor victims by , among other

things, inducing and enticing , and aiding and abetting the

inducement and enticement of , multiple minor victims .          Victims

were groomed and/or abused at multiple locations , including the

following :

                   a.   A multi - story private residence on the Upper

East Side of Manhattan , New York owned by Epstein (the "New York

Residence " ) .

                   b.   An estate in Palm Beach , Fl orida owned by

Epstein (the "Palm Beach Residence" ) .

                   c.   A ranch in Santa Fe , New Mexico owned by

Epstein (the "New Mexico Residence " ) .

                   d.   MAXWELL's personal residence in London ,

England .




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            6.   Additionally , beginning at least in or about

2001 , GHISLAINE MAXWELL , the defendant , and Jeffrey Epstein

enticed and recruited , and caused to be enticed and recruited ,

minor girls to visit Epstein's Palm Beach Residence to engage in

sex acts with Epstein , after which Epstein , MAXWELL , or another

employee of Epstein ' s would give the victims hundreds of dollars

in cash .   Epstein and MAXWELL encouraged one or more of those

victims to travel with Epstein with the intention that the

victim engage in sex acts with Epstein.         Moreover , and in order

to maintain and increase his supply of victims , Epstein ,

MAXWELL , and other Epstein employees also paid certain victims

to recruit additional girls to be similarly abused by Epstein.

In this way , Epstein and MAXWELL created a network of underage

victims for him to sexually exploit .

            7.   Between at least in or about 2001 and in or about

2004 , GHISLAINE MAXWELL , the defendant , and Epstein encouraged

and enticed one or more minor victims to engage in paid sex acts

with Epstein through a variety of means and methods , including

but not limited to the following :

                 a.    Epstein ' s employees , including , at times ,

MAXWELL , would call a victim to schedule an appointment for the

victim to massage Epstein at his Palm Beach Residence .          MAXWELL

placed at least some of those calls while with Epstein in




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Manhattan , New York .     Epstein would often travel from New York

to Florida , where he would then have the scheduled appointments .

                 b.      When a victim initially arrived at the Palm

Beach Residence , she would be greeted by an employee of

Epstein ' s , including , at times , MAXWELL .   The victim would then

be escorted to a room with a massage table .        Once inside , the

victim would provide a nude or semi - nude massage for EPSTEIN ,

who would himself typically be naked.        During these encounters ,

EPSTEIN would escalate the nature and scope of the physical

contact to include sex acts such as groping and direct and

indirect contact with the victim ' s genitals .      EPSTEIN would also

typically masturbate during these encounters , ask the victim to

touch him while he masturbated , and touch the victim ' s genitals

with his hands or with sex toys .

                 c.      In connection with each sexual encounter ,

Epstein or one of his employees or associates , including , at

times , MAXWELL , paid the victim in cash .      Each victim was

typically paid hundreds of dollars for each encounter .

           8.    GHISLAINE MAXWELL , the defendant , facilitated

Jeffrey Epstein ' s access to minor victims knowing that he had a

sexual preference for underage girls and that he intended to

engage in sexual activity with those victims .        Epstein ' s

resulting abuse of minor victims included , among other things ,

touching a victim ' s breast , touching a victim ' s genitals ,



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placing a sex toy such as a vibrator on a victim ' s genitals ,

directing a victim to touch Epstein while he masturbated , and

directing a victim to touch Epstein's genitals .

                        MAXWELL AND EPSTEIN'S VICTIMS

              9.   Among the victims induced or enticed by GHISLAINE

MAXWELL , the defendant , were minor victims identified herein as

Minor Victim-1 , Minor Victim- 2 , Minor Victim- 3 , and Minor

Victim- 4 .    In particular , and during time periods relevant to

this Indictment, MAXWELL engaged in the following acts, among

others , with respect to minor victims :

                   a.     MAXWELL met Minor Victim- 1 when Minor

Victim-1 was approximately 14 years old.           MAXWELL subsequently

interacted with Minor Victim-1 on multiple occasions at

Epstein's residences , knowing that Minor Victim-1 was under the

age of 18 at the time .       During these interactions , which took

place between approximately 1994 and 1997 , MAXWELL groomed Minor

Victim- 1 to engage in sexual acts with Epstein through multiple

means.     First , MAXWELL and Epstein attempted to befriend Minor

Victim- 1 , taking her to the movies and on shopping trips .

MAXWELL also asked Minor Victim-1 about school , her classes , her

family, and other aspects of her life .          MAXWELL then sought to

normalize inappropriate and abusive conduct by , among other

things , undressing in front of Minor Victim- 1 and being present

when Minor Victim- 1 undressed in front of Epstein .           Within the



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first year after MAXWELL and Epstein met Minor Victim- 1 , Epstein

began sexually abusing Minor Victim- 1 .      MAXWELL was present for

and involved in some of this abuse .       In particular , MAXWELL

involved Minor Victim- 1 in group sexualized massages of Epstein .

During those group sexualized massages , MAXWELL and/or Minor

Victim- 1 would engage in sex acts with Epstein .        Epstein and

MAXWELL both encouraged Minor Victim- 1 to travel to Epstein's

residences in both New York and Florida .       As a result , Minor

Victim- 1 was sexually abused by Epstein in both New York and

Florida.   Minor Victim- 1 was enticed to travel across state

lines for the purpose of sexual encounters with Epstein , and

MAXWELL was aware that Epstein engaged in sexual activity with

Minor Victim- 1 after Minor - Victim- 1 traveled to Epstein's

properties , including in the context of a sexualized massage .

                 b.    MAXWELL interacted with Minor Victim- 2 on at

least one occasion in or about 1996 at Epstein's residence in

New Mexico when Minor Victim- 2 was under the age of 18 .         Minor

Victim- 2 had flown into New Mexico from out of state at

Epstein ' s invitation for the purpose of being groomed for and/or

subjected to acts of sexual abuse .      MAXWELL knew that Minor

Victim- 2 was under the age of 18 at the time .       While in New

Mexico , MAXWELL and Epstein took Minor Victim- 2 to a movie and

MAXWELL took Minor Victim- 2 shopping .      MAXWELL also discussed

Minor Victim- 2 ' s school , classes , and family with Minor Victim-



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2.   In New Mexico, MAXWELL began her efforts to groom Minor

Victim- 2 for abuse by Epstein by , among other things, providing

an unsolicited massage to Minor Victim- 2 , during which Minor

Victim- 2 was topless .    MAXWELL also encouraged Minor Victim- 2 to

massage Epstein.

                   c.   MAXWELL groomed and befriended Minor

Victim- 3 in London , England between approximately 1994 and 1995 ,

including during a period of time in which MAXWELL knew that

Minor Victim- 3 was under the age of 18 .       Among other things ,

MAXWELL discussed Minor Victim- 3 ' s life and family with Minor

Victim- 3 .   MAXWELL introduced Minor Victim- 3 to Epstein and

arranged for multiple interactions between Minor Victim- 3 and

Epstein.      During those interactions , MAXWELL encouraged Minor

Victim- 3 to massage Epstein , knowing that Epstein would engage

in sex acts with Minor Victim- 3 during those massages .         Minor

Victim- 3 provided Epstein with the requested massages , and

during those massages , Epstein sexually abused Minor Victim- 3 .

MAXWELL was aware that Epstein engaged in sexual activity with

Minor Victim-3 on multiple occasions , including at times when

Minor Victim- 3 was under the age of 18 , including in the context

of a sexualized massage .

                  d.    Minor Victim- 4 was recruited to provide

Epstein with sexualized massages for which Minor Victim- 4 was

paid by Epstein and/or one of his associates , including, at



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times , MAXWELL, at the Palm Beach Residence beginning in or

around 2001 .     MAXWELL met Minor Victim- 4 at Epstein ' s Palm Beach

Residence when Minor Victim- 4 was approximately 14 years old .

MAXWELL subsequently interacted with Minor Victim- 4 on multiple

occasions at Epstein ' s Palm Beach Residence , knowing that Minor

Victim-4 was under the age of 18 at the time .           During these

interactions , which took place between approximately 2001 and

2004 , MAXWELL groomed Minor Victim- 4 to engage in sexual acts

with Epstein through multiple means .          For example, MAXWELL asked

Minor Victim-4 about her family and other aspects of her life .

MAXWELL also sought to normalize inappropriate and abusive

conduct by , among other things , discussing sexual topics in

front of Minor Victim-4 and being present when Minor Victim- 4

was nude in the massage room of the Palm Beach Residence.               On

multiple occasions between approximately 2001 and 2004 , Minor

Victim- 4 provided nude massages to Epstein at the Palm Beach

Residence , during which Epstein engaged in multiple sex acts

with Minor Victim- 4 .      Epstein ' s employees , including at times

MAXWELL, called Minor Victim-4 , including from New York , to

schedule appointments for Minor Victim- 4 to massage Epstein .

After each massage, Epstein or one of his employees , including

at times MAXWELL , paid Minor Victim- 4 hundreds of dollars in

cash .    At some point during this period , both Epstein and

MAXWELL invited Minor Victim-4 to travel with Epstein and



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offered to assist Minor Victim-4 with obtaining a passport for

purposes of such travel , but Minor Victim- 4 declined the

invitation .       On multiple occasions between approximately 2001

and 2004 , Epstein ' s employees, including at times MAXWELL , sent

Minor Victim-4 gifts , including lingerie , from an address in

Manhattan , New York to Minor Victim- 4's residence in Florida.

Epstein and MAXWELL each also encouraged Minor Victim-4 to

recruit other young females to provide sexualized massages to

Epstein .   In response , Minor Victim- 4 brought multiple females ,

including girls under the age of 18 , to provide sexualized

massages for Epstein at the Palm Beach Residence.          On such

occasions , both Minor Victim-4 and the girl she brought were

paid hundreds of dollars in cash .

               MAXWELL'S EFFORTS TO CONCEAL HER CONDUCT

            10 .     In or around 2016 , in the context of a deposition

as part of civil litigation , GHISLAINE MAXWELL , the defendant ,

repeatedly provided false and perjurious statements , under oath ,

regarding , among other subjects , her role in facilitating the

abuse of minor victims by Jeffrey Epstein , including some of the

specific events and acts of abuse detailed above .

                            STATUTORY ALLEGATIONS

            11.      From at least in or about 1994 , up to and

including in or about 2004 , in the Southern District of New York

and elsewhere, GHISLAINE MAXWELL , the defendant , Jeffrey



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Epstein , and others known and unknown , willfully and knowingly

did combine, conspire , confederate , and agree together and with

each other to commit an offense against the United States, to

wit , enticement , in violation of Title 18 , United States Code ,

Section 2422 .

             12.   It was a part and object of the conspiracy that

GHISLA INE MAXWELL , the defendant , Jeffrey Epstein , and others

known and unknown, would and did knowingly persuade , induce ,

entice , and coerce one and more individuals to travel in

interstate and foreign commerce , to engage in sexual activity

for which a person can be charged with a criminal offense , in

violation of Title 18 , United States Code , Section 2422 .

                               Overt Acts

             13.   In furtherance of the conspiracy and to effect

the illegal object thereof , the following overt acts , among

others , were committed in the Southern District of New York and

elsewhere:

                   a.   Between in or about 1994 and in or about

1997 , when Minor Victim- 1 was under the age of 18 , MAXWELL

participated in multiple group sexual encounters with Epstein

and Minor Victim-1 in New York and Florida.

                   b.   In or about 1996 , when Minor Victim-1 was

under the age of 18 , Minor Victim-1 was enticed to travel from

Florida to New York for purposes of sexually abusing her at the



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New York Residence , in violation of New York Penal Law , Section

130 . 55 .

                    c.   In or about 1996 , when Minor Victim- 2 was

under the age of 18 , MAXWELL provided Minor Victim- 2 with an

unsolicited massage in New Mexico , during which Minor Victim- 2

was topless .

                    d.   Between in or about 1994 and in or about

1995 , whe n Minor Victim- 3 was under the age of 18 , MAXWELL

encouraged Minor Victim- 3 to provide massages to Epstein in

London , Eng l and , knowing that Epstein intended to sexually abuse

Minor Vi ctim-3 during those massages .

                    e.   Between in or about 2001 and in or about

2002 , when Minor Vi ctim- 4 was under the age of 18 , MAXWELL and

Epstein invited Minor Victim- 4 to travel from Florida to a place

outside of Florida with Epstein .

              (Title 18 , United States Code , Section 371 . )

                            COUNT TWO
 (Enticement of a Minor to Travel to Engage in Illegal Sex Acts)

             The Grand Jury further charges :

             14 .   The allegations contained in paragraphs 1 through

9 of this Indictment are repeated and realleged as if fully set

forth within .

             15.    From at least in or about 1994 , up to and

includirig in or about 1997 , in the Southern District of New York

and elsewhere , GHISLAINE MAXWELL , the defendant , knowingly did


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persuade , induce , entice , and coerce an individual to travel in

interstate and foreign commerce to engage in sexual activity for

which a person can be charged with a criminal offense , and

attempted to do the same , and aided and abetted the same , to

wit , MAXWELL persuaded , induced , enticed , and coerced Minor

Victim- 1 to travel from Florida to New York , New York on

multiple occasions with the intention that Minor Vict i m- 1 would

engage in one or more sex acts with Jeffrey Epstein , in

violation of New York Penal Law , Section 130 . 55.

        (Title 18 , United States Code , Sections 2422 and 2 . )

                            COUNT THREE
           (Conspiracy to Transport Minors with Intent to
                Engage in Criminal Sexual Activity)

           The Grand Jury further charges :

           16.    The allegations contained in paragraphs 1 through

9 of this Ind i ctment are repeated and realleged as if fully set

forth within .

           17 .   From at least in or about 1994 , up to and

including in or about 2004 , in the Southern District of New York

and elsewhere , GHISLAINE MAXWELL , the defendant , Jeffrey

Epstein , and others known and unknown , willfully and knowingly

did combine , conspire , confederate , and agree together and with

each other to commit an offense against the United States , to

wit , transportation of minors , in violat i on of Title 18 , United

States Code , Sect i on 2423(a) .



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              18 .   It was a part and object of the conspiracy that

GHISLAINE MAXWELL , the defendant , Jeffrey Epstein , and others

known and unknown , would and did , knowingly transport an

individual who had not attained the age of 18 years in

interstate and foreign commerce , with intent that the ind i vidual

engage in sexual activity for which a person can be charged with

a criminal offense , in violation of Title 18 , United States

Code , Section 2423(a) .

                                  Overt Ac t s

              19 .   In furtherance of the conspiracy and to effect

the illegal object thereof , the following overt acts , among

others , were committed in the Southern District of New York and

elsewhere :

                     a.   Between in or about 1994 and in or about

1997 , when Minor Victim- 1 was under the age of 18, MAXWELL

participated in multiple group sexual encounters with EPSTEIN

and Minor Victim- 1 in New York and Florida .

                     b.   In or about 1996 , when Minor Vict i m- 1 was

under the age of 18 , Minor Victim- 1 was enticed to travel from

Florida to New York for purposes of sexually abusing her at the

New York Residence , in violation of New York Penal Law , Section

130 . 55 .

                     c.   In or about 1996 , when Minor Victim- 2 was

under the age of 18 , MAXWELL provided Minor Victim- 2 with an



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unsolicited massage in New Mexico, during which Minor Victim- 2

was topless .

                  d.   Between in or about 1994 and in or about

1995 , when Minor Victim- 3 was under the age of 18 , MAXWELL

encouraged Minor Victim- 3 to provide massages to Epstein in

London , England , knowing that Epstein intended to sexually abuse

Minor Victim- 3 during those massages.

                  e.   Between in or about 2001 and in or about

2002 , when Minor Victim- 4 was under the age of 18, MAXWELL and

Epstein invited Minor Victim-4 to travel from Florida to a place

outside of Florida with Epstein.

            (Title 18 , United States Code , Section 371 . )

                                COUNT FOUR
                (Transportation of a Minor with Intent to
                  Engage in Criminal Sexual Activity)

           The Grand Jury further charges :

           20 .   The allegations contained in paragraphs 1 through

9 of this Indictment are repeated and realleged as if fully set

forth within .

           21.    From at least in or about 1994 , up to and

including in or about 1997 , in the Southern District of New York

and elsewhere , GHISLAINE MAXWELL, the defendant , knowingly did

transport an individual who had not attained the age of 18 years

in interstate and foreign commerce, with the intent that the

individual engage in sexual activity for which a person can be

charged with a criminal offense , and attempted to do so , and

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aided and abetted the same , to wit , MAXWELL arranged f or Mi nor

Victim- 1 to be transported from Fl orida to New York , New York on

multiple occasions with the intention that Minor Victim- 1 would

engage in one or more sex acts with Jeffrey Epste i n , i n

violation of New York Penal Law , Section 130.55 .

      (Title 18 , United States Code , Sect i ons 2423(a) and 2 . )

                               COUNT FIVE
                      (Sex Trafficking Conspiracy)

            The Grand Jury further charges :

            22 .   The allegations contained in paragraphs 1 through

9 of this I nd i ctment are repeated and realleged as i f fully set

forth with i n .

            23 .   From at least in or about 2001 , up to and

including in or about 2004 , in the Southern District of New York

and elsewhere , GHISLAINE MAXWELL , the defendant , Jeffrey

Epstein , and others known and unknown , willfully and knowingly

did combine , conspire , confederate , and agree together and with

each other to commit an offense against the United States , to

wit , sex trafficking of minors , in violation of Title 18 , United

States Code , Sect i on 1591(a) and (b) .

            24 .   It was a part and object of the conspiracy that

GHISLAINE MAXWELL , the defendant , Jeffrey Epstein , and others

known and unknown , would and did , i n and affecting interstate

and foreign commerce , recruit , entice , harbor , transport ,

provide , and obtain , by any means a person , and to benefit ,


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financially and by receiving anything of value , from

participation in a venture which has engaged in any such act ,

know i ng that the person had not attained the age of 18 years and

would be caused to engage in a commercial sex act , in violation

of Title 18 , United States Code , Sections 1591(a ) and (b ) (2).

                                Overt Acts

             25 .   In furtherance of the conspiracy and to effect

the illegal object thereof , the following overt acts , among

others , were committed in the Southern District of New York and

elsewhere:

                    a.   Between in or about 2001 and in or about

2004 , Epstein and MAXWELL recruited Minor Victim- 4 to engage in

sex acts with EPSTEIN at the Palm Beach Residence , after which

Epstein and , at times , MAXWELL provided Minor Victim- 4 with

hundreds of dollars in cash for each encounter .        Minor Victim- 4

truthfully told both Epstein and MAXWELL her age .

                    b.   Between in or about 2001 and in or about

2004 , Epstein and MAXWELL both encouraged and enticed Minor

Victim- 4 to recruit other girls to engage in paid sex acts with

Epstein, which she did .

                    c.   Between in or about 2001 and in or about

2004 , Epstein's employees , including at times MAXWELL , sent

Minor Victim- 4 gifts , including lingerie , from an address in the

Southern District of New York to Minor Victim- 4 ' s residence in



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Florida .   For example , on one occasion in or about October of

2002, Epstein caused a package to be sent by Federal Express

from an address in Manhattan to Minor Victim- 4 in Florida .

                   d.    On multiple occasions between in or about

2001 and in or about 2004 , Epstein , MAXWELL, or one of Epstein's

other employees called Minor Victim- 4 to schedule an appointment

for Minor Victim- 4 to massage Epstein .      For example, in or about

April of 2004 and May of 2004 another employee of Epstein's

called Minor Victim- 4 to schedule such appointments .

             (Title 18 , United States Code, Section 371.)

                                 COUNT SIX
                        (Sex Trafficking of a Minor)

            The Grand Jury further charges:

            26.    The allegations contained in paragraphs 1 through

9 of this Indictment are repeated and realleged as if fully set

forth within .

            27 .   From at least in or about 2001 , up to and

including in or about 2004 , in the Southern District of New York

and elsewhere, GHISLAINE MAXWELL, the defendant , willfully and

knowingly , in and affecting interstate and foreign commerce, did

recruit , entice , harbor , transport, provide , and obtain by any

means a person,     knowing that the person had not attained the age

of 18 years and would be caused to engage in a commercial sex

act , and did aid and abet the same, to wit, MAXWELL recruited,

enticed, harbored , transported, provided , and obtained


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individuals who were less than 18 years old , including but not

limited to Minor Victim- 4 , as described above , and who were then

caused to engage in at least one commercial sex act with Jeffrey

Epstein , and aided and abetted the same .

          (Title 18 , United States Code , Section 1591(a) ,
                           ( b) ( 2 ) , and 2 . )

                                  COUNT SEVEN
                                   (Perjury)

           The Grand Jury further charges :

           28 .   The allegations contained in paragraphs 1 through

9 of this Indictment are repeated and realleged as if fully set

forth within .

           29 .   On or about April 22 , 2016 , in the Southern

District of New York , GHISLAINE MAXWELL , the defendant , having

taken an oath to testify truthfully in a deposition in

connection with a case then pending before the United States

District Court for the Southern District of New York under

docket number 15 Civ . 7433 ,      knowingly made false material

declarations , to wit , MAXWELL gave the following underlined

false testimony :

           Q.     Did Jeffrey Epstein have a scheme to recruit
                  underage girls for sexual massages?  If you know .

           A.     I don ' t   know what you ' re talking about .



           Q.     List all the people under the age of 18 that you
                  interacted with at any of Jeffrey ' s properties?



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           A.    I ' m not aware of anybody that I interacted with ,
                 other than obviously [the plaintiff] who was 17
                 at this point.

           (Ti tle 18, United States Code, Section 1623 . )

                               COUNT EIGHT
                                (Perjury)

           The Grand Jury further charges:

           30.   The allegations contained in paragraphs 1 through

9 of this Indictment are repeated and realleged as if fully set

forth within .

           31.   On or about July 22, 2016,     in the Southern

District of New York , GHISLAINE MAXWELL, the defendant, having

taken an oath to testify truthfully in a deposition in

connection with a case then pending before the United States

District Court for the Southern District of New York under

docket number 15 Civ. 7433 ,    knowingly made false material

declarations, to wit, MAXWELL gave the following underlined

false testimony:

          Q:     Were you aware of the presence of sex toys or
                 devices used in sexual activities in Mr .
                 Epstein ' s Palm Beach house?

          A:     No , not that I recall.


          Q.     Do you know whether Mr . Epstein possessed sex
                 toys or devices used in sexual activities?

          A.     No .



          Q.     Other than yourself and the blond and brunette


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                 that you have identified as having been involved
                 in three - way sexual activi ties , with whom did Mr .
                 Epstein have sexual activities?

           A.    I wasn ' t aware that he was having sexual
                 activities with anyone when I was with him other
                 than myself.

           Q.    I want to be sure that I ' m clear . Is it your
                 testimony that in the 1990s and 2000s , you were
                 not aware that Mr. Epstein was having sexual
                 activities with anyone other than yourself and
                 the blond and brunette on those few occasions
                 when they were involved with you?

           A.    That is my testimony , that is correct .



           Q.    Is it your testimony that you ' ve never given
                 anybody a massage?

           A.    I have not given anyone a massage .

           Q.    You never gave Mr . Epstein a massage , is that
                 your testimony?

           A.    That is my testimony.

           Q.    You never gave [Minor Victim- 2) a massage is your
                 testimony?

           A.    I never gave [Minor Victim- 2) a massage .

            (Title 18 , United States Code , Section 1623 . )

                        FORFEITURE ALLEGATIONS

           32.   As a result of committing the offense alleged in

Count Six of this Indictment , GHISLAINE MAXWELL , the defendant,

shall forfeit to the United States , pursuant to Title 18, United

States Code , Section 1594(c ) (1 ) , any property , real and

personal , that was used or intended to be used to commit or to



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                                         •
facilitate the commission of the offense a l leged in Count Six ,

and any property , real or personal , constituting or derived from

any proceeds obtained , directly or indirectly , as a result of

the offense alleged in Count Six, or any property traceable to

such property .

                          Substitute Asset Provision

             33 .   If any of the above - described forfeitable

property , as a result of any act or omission of the defendant :

          (a) cannot be located upon the exercise of due diligence;

          (b) has been transferred or sold to , or deposited with, a

         third person ;

          (c) has been placed beyond the jurisdiction of . the Court ;

          (d) has been substantially diminished in value; or

          (e) has been commingled with other property which cannot

         be subdivided without difficulty;

it is the intent of the United States , pursuant to 21 U. S . C .

§   853(p) and 28 U. S . C .   §   2461(c), to seek forfeiture of any

other property of the defendant up to the value of the above

forfeitable property.

        (Title 18 , United States Code, Section 1594; Title 21,
                  United States Code, Section 853 ; and
             Title 28 , United States Code , Section 2461.)




                                              United States Attorney



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                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK


                    UNITED STATES OF AMERICA

                                    v.

                        GHISLAINE MAXWELL,

                                                 Defendant.


                     SUPERSEDING INDICTMENT

                        S2 20 Cr . 330 (AJN)

           (18   u.s . c .   §§ 371 , 1591 , 1623 , 2422 ,
                             2423(a) , and 2)

                           AUDREY STRAUSS
                     Un i ted States Attorney
                                                  , ,._,


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